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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 12-316 LKK
     United States of America,           )
 9                                       ) STIPULATION & ORDER CONTINUE
                  Plaintiff,             ) JUDGEMENT & SENTENCING
10                                       ) DATE: February 4, 2014
          vs.                            ) TIME: 9:15 a.m.
11                                       ) COURT: Hon. Judge Lawrence K.
                                         ) Karlton
12   Michelle Wright                     )
                                         )
13                Defendant.
14

15
          IT IS HEREBY STIPULATED by and between the parties hereto through
16

17
      their respective counsel, Jared Dolan, Assistant United States

18   Attorney, attorney for plaintiff; Shari Rusk, attorney for defendant

19   Michelle Wright; that judgment and sentencing be continued from

20   December 17, 2013 to February 4, 2014 and that date is available with
21   the Court.
22
          The parties request the following schedule:
23
                       PSR disclosed:             December 24, 2013
24                     Informal Objections:       January 7, 2014
                       Final PSR:                 January 14, 2014
25                     Reply:                     January 28, 2014
                       Judgment & Sentencing:     February 4, 2014
26

27   IT IS SO STIPULATED.
28
     Dated: November 25, 2013          Respectfully submitted,




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                                            /s/ Shari Rusk
 1                                          SHARI RUSK
                                            Attorney for Defendant
 2
                                            MICHELLE WRIGHT
 3
                                            /s/ Jared Dolan__
 4                                          Jared Dolan
                                            Assistant United States Attorney
 5

 6                                  ORDER

 7

 8        IT IS SO ORDERED.

 9   DATED:    December 2, 2013

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